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                        EXHIBIT 22
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 2

 3

 4
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 5
                                 FOR THE COUNTY OF JACKSON
 6

 7   In the Matter of:

 8   HEIDI MARIE BROWN,
                                                        Case No. 22DR17285
 9                 Petitioner,
                                                        RESPONDENT'S MOTION FOR
10          and                                         MISTRIAL

11   ARNAUD PARIS,                                      RETAINED: JUDGE ORR
12                 Respondent.
13

14                                             MOTION
15          Comes now, Respondent ("Father"), by and through his attorney, Thomas A.

16   Bittner and Schulte, Anderson, Downes, Aronson & Bittner, PC., and moves the court to

17   declare a mistrial as a result of misconduct or an irregularity as set forth in greater

18   detail, below. This case should be reassigned and a new trial scheduled immediately.

19          This Motion is supported by the Points and Authorities set forth below and any

20   other legal authority cited in this motion, as well as the records and files in this matter.

21                                  POINTS AND AUTHORITIES

22          A party may move for a mistrial during a trial when misconduct or an irregularity

23   occurs. See Raymond v. Southern Pacific Co., 259 Or629 (1971).

24                                           ARGUMENT

25          In this case, irregularities or misconduct have occurred in that Judge Orr has
26   made comments in open court, during the course of the hearing on Father's motions to
Page 1 - RESPONDENT'S MOTION FOR MISTRIAL

                                                                                 SCHUi.TE, ANDERSON, DO\VNJ'.<;, AltoNSON & BllTNER l'.C.
                                                                                       811 SoUnlWES"I NArroP,\llKWAY, surmsoo
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                                      EXHIBIT 22 - PAGE 1 OF 9                                  Tl-l..El-'I-IONE(503) 223-4131
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 1   dismiss and his concurrent registration case, demonstrated bias and prejudice against

 2   Respondent as a French national. In making these comments, Judge Orr has

 3   demonstrated that he cannot be impartial and fair in deciding this matter.

 4          Oregon Code of Judicial Conduct Rule 3.3 ("Impartiality and Fairness") provides

 5   as follows:

 6          (A) A judge shall uphold and apply the law and perform all duties of
                judicial office, including administrative duties, fairly, impartially, and
 7
                without bias or prejudice.
 8
            (B) A judge shall not, in the performance of judicial duties, by words or
 9              conduct, manifest bias or prejudice, or engage in harassment, against
                parties, witnesses, lawyers, or others based on attributes including but
10              not limited to, sex, gender identity, race, national origin, ethnicity,
11              religion, sexual orientation, marital status, disability, age,
                socioeconomic status, or political affiliation and shall not permit court
12              staff, court officials, or others subject to the judge's direction and
                control to do so.
13
            (C) A judge shall not take any action or make any comment that a
14              reasonable person would expect to impair the fairness of a matter
                pending or impending in any Oregon court.
15
16          During the course of the hearing on Father's motions to dismiss (and
17   concurrently, on Mother's objection to Father's registration of the French custody
18   determination, case no. 23DR08269), Judge Orr made comments and engaged in
19   conduct demonstrating bias and prejudice against Father based on his national origin,
20   French nationals, French language and culture, and against the Frech judicial system.
21          On July 12, toward the end of Mother's cross examination of Father's French
22   attorney, Terrence Richoux, Mother's attorney, Taylor Murdoch, handed Judge Orr an
23   exhibit that was the French court clerk's log of the trial proceedings in France, which
24   was written in French. Judge Orr then asked what Mr. Murdoch wanted him to do with
25   the document because it might as well be in "Chinese." This comment was clearly
26   made to demean the French language and, by extension, all French language
Page 2 - RESPONDENT'S MOTION FOR MISTRIAL

                                                                                  SCllULTE, ANJ>ERSON, DOWNFS, ARONSON & BITTNl'Jt P,C,
                                                                                        kl I SOUTIIWEii-'TNArroPARKWA\', SUJTE5{)(J
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                                     EXHIBIT 22 - PAGE 2 OF 9                                   TEU~l'IIONE (503) 223-4131
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 1   speakers. Judge Orr's comment was racist against Chinese people and, by making the

 2   analogy that French language speakers may as well be "Chinese," demonstrates racial

 3   prejudice and xenophobia.

 4          The next day, July 13, Father called a business associate, Sebastien Natale as a

 5   witness on his behalf. Mr. Natale is French and testifying remotely from France. Mr.

 6   Murdoch raised an objection regarding the court's ability to fairly administer the

 7   testimonial oath given that Mr. Natale was not subject to the trial court's authority. The

 8   court and Mr. Murdoch then engaged in a colloquy set forth in Exhibit 1, attached hereto

 9   and incorporated herein. In lines 6-9 of Exhibit 1, Judge Orr comments about what the

1O   penalty for perjury might be in France. After saying that the penalty may be "lashing" he

11   says, "[m]aybe they put you in -" and he then motions as though his head and hands

12   are placed in a pillory. Mr. Murdoch then comments that maybe the punishment would

13   be not being allowed wine for a month, to which the court responds "right," agreeing

14   with Mr. Murdoch's quip.

15          These events, especially when considered together, show bias and prejudice by

16   Judge Orr against the French language, French nationals and the French judicial

17   system. The suggestion that the French judicial system engages in barbaric practices

18   like lashing or the use of a pillory manifests prejudice in both words and conduct.

19   Similarly, Judge Orr's agreement with the idea that French people are so addicted to

20   wine that having to abstain for a month could be punishment for perjury is gross

21   stereotyping of all French nationals and French culture. It is also harassment against

22   Father based on his national origin. Not only was it improper for Judge Orr to agree

23   with Mr. Murdoch's comment, under Rule 3.3(8), above, Judge Orr had an obligation

24   under the same rule to, minimally, admonish Mr. Murdoch for making such an offensive

25   statement.

26   Ill
Page 3 - RESPONDENT'S MOTION FOR MISTRIAL

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 1          Judge Orr's comments and conduct might not seem so improper in some

 2   circumstances, but in this case Judge Orr is being asked to recognize and enforce a

 3   French custody determination in favor of Father and against Mother, who is a Jackson

 4   County, Oregon, native. Judge Orr's view of the French judicial system, French people,

 5   and French language goes to the heart of the issues he must decide. If Judge Orr has

 6   no respect for the French judicial system, or French people, he cannot be fair, impartial

 7   or unbiased in his handling of this matter. Given what has transpired, any reasonable

 8   person would conclude that Judge Orr is biased and prejudiced, and his conduct and

 9   comments have impaired the fairness of this proceeding, a violation of Judge Orr's duty

10   under Rule 3.3(C), above.

11         Judge Orr's revelation of his bias and prejudice is remarkable, and in so doing

12   has caused an irregularity in these proceedings that cannot be cured. For all of these

13   reasons the court must declare a mistrial and reassign this matter to another judge.

14        Dated this _2_day of August 2023.

15                                    SCHULTE, ANDERSON, DOWNES, ARONSON & BITTNER P.C.

16

17
                                      By: s/ Thomas A. Bittner
18                                       Thomas A. Bittner, OSB #90178
                                         Attorneys for Respondent
19                                       811 SW Naito Pkwy. Suite 500
                                         Portland, OR 97204
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Page 4 - RESPONDENT'S MOTION FOR MISTRIAL

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Case 1:24-cv-00648-AA                Document 23-19                Filed 06/20/24                  Page 6 of 10


                                    CERTIFICATE OF SERVICE
 1
        I hereby certify that I served the foregoing RESPONDENT'S MOTION FOR
 2      MISTRIAL on the following party:
 3
                                           Mr. Taylor Murdoch
 4                                          Buckley Law PC
 5                                     5300 Meadows Rd Ste 200
                                        Lake Oswego OR 97035
 6                                       tlm@buckley-law.com

 7   By the following method or methods:

 8          by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office address of
 9   the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
     set forth below.
10
     X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
11   shown above, which is the last known email address for the attorney(s) office, on the date set forth
     below.
12

13           DATED this      _ _2_n_d__ day of         August 2023

14
                                       SCHUL TE, ANDERSON, DOWNES, ARONSON & BITTNER P.C.
15

16

17                                     By:s/Thomas A. Bittner
                                          Thomas A. Bittner, OSB #90178
18                                        Attorneys for Respondent

19

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Page 5 - RESPONDENT'S MOTION FOR MISTRIAL

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                        Excerpt of Proceedings

                            Brown· v Paris

                            July 13, 2023




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                                                              Exhibit 1
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                                July 13, 2023         Filed 06/20/24     Page 8 of 10
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                IN THE CIRCUIT COURT OF THE STATE OF OREGON

                        IN AND FOR THE COUNTY OF LANE

                     BEFORE THE HONORABLE DAVID J. ORR



            HEIDI MARIE BROWN,

                        Petitioner,

                v.                                       No. 22DR17285

            ARNAUD PARIS,

                        Respondent.




                              EXCERPT OF PROCEEDINGS

                                   July 13, 2023

                                        Thursday



            APPEARANCES:

            For Petitioner:      MR. TAYLOR MURDOCH

            For Respondent:      MR. THOMAS BITTNER




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                                                                    Exhibit 1
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                                                                             2

       1                   EXCERPT OF PROCEEDINGS

       2                        July 13, 2023

       3                               ***

       4                  MR. MURDOCH:         But that it be made

       5    clear to him what he would be facing.

       6




      13                  MR. MURDOCH:         I don't know.   Right?

      14                  THE COURT:     So I don't know exactly

      15    how to impress that on him.

      16                  MR. MURDOCH:         I don't know.   And

      17    that's the reason why I bring it up, Judge, is this

      18    is just something that's come up in my practice

      19    involving international cases where some judges

      20    throughout the state routinely will not hear from an

      21    out-of -- a person who is testifying from a

      22    jurisdiction outside of the country because they are

      23    not subject to the laws of the United States where

      24    they are.

      25                  (Conclusion of requested excerpt.)




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                                                                 Exhibit 1
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                              July 13, 2023      Filed 06/20/24     Page 10 of 10
                                                                            3

        1   State of Oregon
        2                                ss.

        3   County of Lane
        4

        5       I, Eleanor Knapp, a Certified Shorthand Reporter

        6   for the State of Oregon, do hereby certify that the

        7   foregoing pages 1 to 2 comprise a complete, true,

        8   and accurate transcription, to the best of my

        9   ability, of the audio recording provided of the

       10   proceedings held in the cause previously captioned

       11   and held on July 13, 2023.

       12

       13
       14
       15   Dated at Eugene, Oregon, this 31st day of July,

       16   2023.

       17

       18

       19
       20


       21   Eleanor Knapp, CSR-RPR
       22   CSR No. 93-0262
       23   Expires:    September 30, 2023
       24

       25




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                                                                Exhibit 1
                           EXHIBIT 22 - PAGE 9 OF 9           Page 4 of 4
